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BEFORE ERIC N. VITALIANO
UNITED STATES DISTRICT JUDGE

                                           DATE: 17cr600


                      CRIMINAL CAUSE FOR PLEADING & Bail ApDlication


DOCKET # 17cr600 ENV-1                                 Defendant # 1

CASE: USA v. ROBERTO FINOCCHI


COUNSEL: Matthew Ettinger

AUSA: Mark Bini and Derek Ettinger

Pre-Trial Officer: Andrew Abbott

Interpreter: n/a

COURT REPORTER: Linda Marino



X       CASE CALLED FOR PLEADING


X       DEFENDANT SWORN


X       DEFENDANT WAIVES INDICTMENT


X       Defendants enters a plea of Guilty to Count I ofthe information

X       COURT FINDS THAT THE PLEA WAS MADE KNOWINGLY & VOLUNTARILY AND
        NOT COERCED.COURT FINDS FACTUAL BASIS FOR THE PLEA & ACCEPTS PLEA OF
        GUILTY TO Count I ofthe INFORMATION

X       BAIL GRANTED


X       SENTENCE DATE:To be set after Probation report is complete.



Time in Court: 60 Minutes
